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3                              UNITED STATES DISTRICT COURT
4
                         SOUTHERN DISTRICT OF CALIFORNIA
5

6                        (HONORABLE JANIS L. SAMMARTINO)
7
     UNITED STATES OF AMERICA,                  Case No.21cr3352-JLS
8
                  Plaintiff,
9
                                                ORDER
10                  v.
11   DENNY BHAKTA,
12
                  Defendant.
13

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15
           Pursuant to joint motion, IT IS HEREBY ORDERED that the Motion
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     Hearing/Trial Setting currently scheduled for July 15, 2022, be rescheduled
17
     to August 12, 2022 at 1:30 p.m.
18
         For reasons stated in the joint motion, and incorporated by reference herein,
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     the court finds the ends of justice are served by granting the requested continuance.
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21
           SO ORDERED.
22
               Dated: July 12, 2022
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